Case 4:16-cV-00164-A Document 23 Filed 07/28/16 Page 1 of 1 Page|D 205

IN TI-IE UNITED STATES DISTRIC'I` COURT
FOR THE NORTHERN DI.STRICT OF TEXAS

Ft. Worth DIVISION

(Name Aii Plaintiffs and Defendants)
CIVIL NUMBER 4:16~{1\/~1 64~A
ER!C PEDROZA
Complete the foilowing if judgment
Was rendered in another District:

vs.
NcisE ATTENUATEON cONSTRec"rJON, Dl$m<>tl
E_LC Doe§<et Number:

Date Entered:

ABSTRACT OF JUDGMENT

In the above entitled and numbered cause ajudgment Was entered Btliis Ceurt, cr other United States
Dis”£riet Court as indicated above and registered herein, on the day of duly , 2016 , in
favor of Attornevs for P|aintiff. Er§c Pedroza. Baren & Budd, PC

agairlS'f Defendant. Noise Attenuation Constructien. LLC

 

in the sum of 3 9,005,1? with in:eresr at the rare of

0_55 per cent per annum from the M day of Jufv , ZQ§ 5 .
Q&“-"

Ccsts have been taxed by the Cieri< cf Court in the sum cf 3

 

 

Credits reflected by returns on execution in the sum cf $ 0

 

The address of the defendant Shewn in this suit in Which said judgment was rendered:
900 Tay|or Road, Weatherford, TX 76087 cr nature cf
citation and date and place citation served:

833 Soapberry Dive, Weat§ieric>rd, TX 76086

l certify that the above and foregoing is a true and correct abstract ofjadgment rendered or registered in this
Court.

Witness my hand and seal cftiie Ceurt thigz?g::%ay of__ § §{A,g j , 20 16 .

`\\<5\ §§ .E§.?_/Sr

KAREN MITCHELL, CLERK \\\"‘\\<>

   
   

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